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        UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA

                                                                 CASE NO.:
 JOLANTA SARIS-SZYFTER

          Plaintiff,

  vs.                                                            INJUNCTIVE RELIEF SOUGHT


  PLANT AUTO SERVICES, INC.
       Defendant.
                                                 /

                                           COMPLAINT

          Plaintiff, Jolanta Saris-Szyfter (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues PLANT AUTO SERVICES, INC., (referred to as

  “Defendant”) a for profit company, for declaratory and injunctive relief, attorneys’ fees,

  expenses and costs (including, but not limited to, court costs and expert fees) pursuant to 42

  U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as

  follows:

                                   JURISDICTION AND VENUE

         1.       This Court is vested with original jurisdiction over this action pursuant to

 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

 Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the 2010

 ADA Standards.

          2.      Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(B) and Internal

  Operating Procedures for the United States District Court for the Southern District of Florida in




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  that all events giving rise to the lawsuit occurred in Broward County, Florida.




                                                  PARTIES

          3.      Plaintiff, Jolanta Saris-Szyfter is sui juris and is a resident of the State of Florida

  and resides in Broward County.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and/or

  lessor of the Real Property, which is subject to this suit, and is located at 1829 S SR 7 Ft.

  Lauderdale, FL 33324 (“Premises”), and is the owner of the improvements where Premises is

  located.

          5.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

         6.       Plaintiff is an individual with severe cardio vascular conditions, uncontrolled

 diabetes with neuropathy, osteoarthritis to bilateral knees with surgical correction on the right

 knee, pustular psoriases, history of diabetic ulcers bilateral feet and reflex sympathetic dystrophy

 on her right leg. The above listed disability and symptoms cause sudden onsets of severe pain

 and substantially limit Plaintiff’s major life activities of walking. At the time of Plaintiff’s visit

 to the Premises on or about May 29, 2021 (and prior to instituting this action), Plaintiff suffered

 from a “qualified disability” under the ADA, and required the use of fully accessible parking

 spaces and fully accessible paths of travel throughout the facility. Plaintiff personally visited the

 Premises, but was denied full and equal access and full and equal enjoyment of the facilities

 and amenities within the Premises, even though she would be classified as a “bona fide patron”.

          7.      Plaintiff, in her individual capacity, will absolutely return to the Premises and




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  avail herself of the services offered when Defendant modifies the Premises or modifies the

  policies and practices to accommodate individuals who have physical disabilities.

          8.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

          9.      Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant's discrimination until Defendant is compelled to comply with the

  requirements of the ADA.

          10.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are

  taken at the Premises to eliminate the discrimination against persons with physical disabilities.

          11.     Completely independent of the personal desire to have access to this place of

  public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

  purpose of discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin

  such discrimination; and subsequently returns to Premises to verify its compliance or non-

  compliance with the ADA and to otherwise use the public accommodation as members of the

  able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also




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  intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,

  and its maintenance of the accessible features of Premises. In this instance, Plaintiff, in

  Plaintiff’s individual capacity and as a “tester”, visited Premises, encountered barriers to access

  at Premises, and engaged and tested those barriers, suffered legal harm and legal injury, and will

  continue to suffer such harm and injury as a result of the illegal barriers to access and the ADA

  violations set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

  Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

          12.      Plaintiff, in her capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modifies the policies and practices to accommodate

  individuals who have physical disabilities to confirm said modifications have been completed

  in accordance with the requirements of the ADA.

                  VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

          13.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 12

  above as if fully stated herein.

          14.      On July 26, 1990, Congress enacted the Americans With Disabilities Act

  (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5)

  years from enactment of the statute to implement its requirements. The effective date of Title III

  of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

  employees and gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. §

  36.508(a).

          15.      Congress found, among other things, that:

                a. some 43,000,000 Americans have one or more physical or mental disabilities,




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               and this number shall increase as the population continues to grow older;

           b. historically, society has tended to isolate and segregate individuals with

               disabilities and, despite some improvements, such forms of discrimination

               against disabled individuals continue to be a pervasive social problem, requiring

               serious attention;

           c. discrimination against disabled individuals persists in such critical areas as

               employment, housing, public accommodations, transportation, communication,

               recreation, institutionalization, health services, voting and access to public

               services and public facilities;

           d. individuals with disabilities continually suffer forms of discrimination, including

               outright intentional exclusion, the discriminatory effects of architectural,

               transportation, and communication barriers, failure to make modifications to

               existing facilities and practices. Exclusionary qualification standards and criteria,

               segregation, and regulation to lesser services, programs, benefits, or other

               opportunities; and,

           e. the continuing existence of unfair and unnecessary discrimination and prejudice

               denies people with disabilities the opportunity to compete on an equal basis and

               to pursue those opportunities for which our country is justifiably famous, and

               accosts the United States billions of dollars in unnecessary expenses resulting

               from dependency and non-productivity.

        Congress explicitly stated that the purpose of the ADA was to:

           f. provide a clear and comprehensive national mandate for elimination of




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                   discrimination against individuals with disabilities;

                g. provide clear, strong, consistent, enforceable standards addressing discrimination

                   against individuals with disabilities; and

                h. invoke the sweep of congressional authority, including the power to enforce the

                   fourteenth amendment and to regulate commerce, in order to address the major

                   areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

          17.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA

  Standards, Defendant’s Premises is a place of public accommodation covered by the ADA by the

  fact it provides services to the general public and must be in compliance therewith.

          18.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          19.      Plaintiff has visited Premises, and has been denied full and safe equal access to

  the facilities and therefore suffered an injury in fact.

          20.      Plaintiff would like to return and enjoy the goods and/or services at Premises on

  a spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to its

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the architectural

  barriers that are in violation of the ADA.

          21.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the




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  Department of Justice, Officer of the Attorney General promulgated Federal Regulations to

  implement the requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA

  Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36,

  under which said Department may obtain civil penalties of up to $55,000.00 for the first violation

  and $110,000.00 for and subsequent violation.

        22.       Based on a preliminary inspection of the Premises, Defendants are in violation of

 42 USC § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

 discriminating against Plaintiff as a result of but not limited to, inter alia, the following specific

 violations:



               a. An access isle is not clearly marked as to discourage parking in the access

                  isle in violation of 2010 ADA Standard 502.3.3.

               b. A parking space attempted to be reserved for disabled patrons is

                  nonexistent and the remaining parking spaces do not contain proper

                  signage which clearly identify the space as reserved for disabled Patrons.

                  Moreover, because there is improper identification signage, no “van

                  accessible” signage exists in violation of 2010 ADA Standard 502.6

               c. Clear changes in level in the parking lot is present which fundamentally

                  alter the ground surface of the space in violation of 2010 ADA Standard

                  502.4

               d. There is no parking space is not clearly marked as to define width of the

                  space or as to discourage non-disability permit vehicles from parking in

                  the spot in violation of ADA Standard 502.2.




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         23.     To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 22 herein.

         24.     Although Defendant is charged with having knowledge of the violations,

  Defendant may not have actual knowledge of said violations until this Complaint makes

  Defendant aware of same.

         25.     To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

         26.     As the owner, lessor, lessee or operator of the Premises, Defendants are required

  to comply with the ADA. To the extent the Premises, or portions thereof, existed and were

  occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

  continuing obligation to remove architectural barriers at the Premises where removal was readily

  achievable, as required by 28 C.F.R. §36.402.

         27.     To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

  obligation to design and construct such Premises such that it is readily accessible to and usable

  by individuals with disabilities, as required by 28 C.F.R. §36.401.

         28.     Plaintiff has retained the undersigned counsel for the filing and prosecution of

  this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid

  by Defendant, pursuant to 42 U.S.C. § 12205.

         29.     All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

         30.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991




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  ADAAG standard applies and all of the violations listed in paragraph 22 herein can be applied

  to the 1991 ADAAG standards.

         31.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.



         WHEREFORE, Plaintiff demands judgment against Defendants and requests the

  following injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by
                  Defendants are in violation of the ADA;
               2. That this Court enter an Order requiring Defendants to alter their facilities to
                  make them accessible to and usable by individuals with disabilities to the full
                  extent required by Title III of the ADA;
               3. That this Court enter an Order directing the Defendants to evaluate and neutralize
                  their policies, practices and procedures toward persons with disabilities, for such
                  reasonable time so as to allow the Defendants to undertake and complete
                  corrective procedures to Premises;
               4. That this Court award reasonable attorney’s fees, all costs (including, but not
                  limited to the court costs and expert fees) and other expenses of suit to the
                  Plaintiff; and,
               5. That this Court award such other and further relief as it may deem necessary, just
                  and proper.


 Dated: June 22, 2021                                  Respectfully Submitted,

                                                        /s/ Alberto R. Leal.
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